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                                TRACY I'TINKIJER
                              Clerk of Courts
                        Hamílton County, Ohio
                          CONFTRMATION 4L9743



  TITAN WRECKING AND
   EN\{IROMBNTAL LLC
                                                                         ^1400996
                  YS.
VESTIGE REDEVELOPMENT                                                      JT]DGE
       GROUPLLC                                                      BETHAMYERS



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                                                                                          EXHIBIT B
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                                                                                                                c
                                                                                                               JUN   t,3   20Ë
                                                                        Steven C. Coffaro (00651fO
                                                                        Attornoy for Dcfendant,               M. LEB RON
                                                                        Vestige Rcdevelopment Group LLC




                                       COURT OF COMMON PLEAS

                                       HAMILTON COUNTY, OHIO
     ÎITAN 1VRECKING &                                    )     Case No. 41400996
     EN\T¡ROI\MENTAL, LLC                                 )
                                                          )     (Judge Beth A. Myers)
            Plainttff,                                    )      (Magistrate Michael Bachman)
                                                          )
            vs.                                           )
                                                          )
     VESTIGE REDEVELOPMENT                                )
     GROUP LLC                                            )
                                                          )
            Defendant.                                    )


                  MEMORANDUM IN OPPOSITION TO PLAINTIFF'S
         MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT /NSTÁN?'ER

            Plaintiff, Titan Wrecking & Environmental, LLC ("Plaintiff' or'"Iitan"), is making                  a

     tronsPalent attempt    to ci¡curnvent this Cou¡t's discovery Order., On January 30, 2015, the

    Magisb'ate issued a Decision that, among other things, glanted a protective orde¡ with respect to

    Titan's rcquest for documents and information about fr¡nds received by Defendant Vestige

    Redevelopment Group LLC ("Vestige") from the salc by Cohen Brothers,                 I¡c. of   scrap from the

    subject project. The Magistrate determined that this inforrnation was not relevant to Titan's

    claims and was not discoverable.

           Titan initially filed objections to the Magistrate's Decision, but then withdrew                   the

    objections'   See   Plaintíff's Panial Withdrewal of Objectíow to the Magistate's Decision, frled

    herein on April 28, 2015. Now, four months afte¡ the Magisuaæ issued his Decision, and sixteen

    months after filing its original Complaint, Titan seeks leave of Court to flile on Amended




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    Complaint asserting a baseless claim              of   "fraudulent transfe/veil piercing," with respect to

    Vestige's use of the funds paid by Cohen Brothers,              Inc. If this motion is granted, the obvious
    next step that Titan   will   take is to ask this Court to reconsider its January 30,2015 Decision and

    to compel production of the Cohen Brothers documents. It is abundantly clear that this (and not

    any belief that Vestige is not solvent or able to satisfy        a   judgment) is the real motivation behind

    Titan's motion for leave to amend and to add foul new parties to this contract dispute.

             Titan's motion has been filed in bad faith, and the claims that it seeks to assert have no

    factual or'legal support whatsoever, The proposed amendment would be futile and the proposed

    new claims would immediately be subject to dismissal pursuant to Rule I2(BX6), The Court

    should exercise its consídelable discretion and deny Titan's motion.

    L        BACKGROUND

             This lawsuit arises fi'om work perfbrmed by Titan at ptopefty owned by Vestige. Titan

    was awarded the project on a competitive bid, and entered into a contmct with Vestige dated

   October 25,2OLI (the "Contract"),1 Titan began performing in late 2011, and completed its

   work on August 3,2072.         (^5ee   Complaint, fl 32),

             Titan was paid approximately $2.7 million for its services. On October 4, 2012,

   however, Titan lecorded a mechanic's lien against the Vestige property                       in the amount of
   $1,355,457.76, (Complaint, Exhibit           B),   On December 31,2013, Titan recorded a swor.n parrial

   release   of its mechanic's lien and rcduced the amount clairned to $536,324.55, based upon

   scheduled payments rnade         by Vestige after October 2072. (Complaint,            11   35 and Exhibit D),

   Vestige disputes Titan's claims and contends that Titan has been paid in full for all work done on

   the project,



   I   The Contlact is attached, in part, as Exhibit A to Titan's Complaint filed on February 20,20'14.


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             Fifty-one days later, on February 20, 2014 Titan frled its Cornplaint in this matter to

     foleclose its lien, and increased the amount of its alleged claim from $536,324,55 to ,In excess

     of $885,584,55." (Complaint, 1[[ 12, 14, 18,22 and 43),

            On January 30, 2015, this Court issued a Magistrate's Decision granting a pròtêctive

     order with lespect to Titan's request      for documents and information about funds            received by

     Vestige flom the sale by Cohen Brothers, Inc. of scrap from the subject ploject. The Magistrate

     determined that this information was not relevant to Titan's claims and was not discover.able.

     Titan initially filed objections to the Magistrate's Decision, but then withdrew the objections.

            On June 4,2015, Titan decided to take an altemativepath to obtain the CohenBr.others

     documents, and moved this Court for leave to amend its Complaint. The motion was purportedly

     based upon the Decernber 8,2014 deposition testimony of Matthew Lafkas, principal of Vestige,

    pulsuant to Civil Rule 30(B)(5). Titan seeks to add fbul new defendants to the litigation and to

    asserl a new claim entitled, "Fraudulent Transfer/Veil             Piercing." (Firsr Amended Complaínt,

    Count   lV).2 the entile purported      basis for this new claim      is testimony by Mr. Lafkas that: (l)

    Vestige paid   off a mottgage loan in       January 20L2      md     thereby obtained the release     of the
    moftgage lien held on the property by Commerce Bank; and (2)                 in SeptemberZ0lZ,       Vestige

    made a letum of capital and a distribution of profits to its members/owners.

            These alleged facts, even    if assumed to be tLue, ale insufficient        as a matter.   of law   to

    establish the proposed new claim that Titan seeks to assert, The              filing of its   proposed First

    Arnended Cornplaint would therefore be futile, and the Cou¡t should exercise its sound discretion

    to deny Titan's motion for leave.




    'The ptoposed First Amended Complaint is attached        as    Exhibit B to Titan's motion for leave,


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    il.     STANDARD OF REVIEW

            Civil Rule 15(A) favols a liberal amendment policy, However, a motion for                   leave to

    amend must be timely filed, and a Rule 15(A) motion should not "be granted [in cases                 ofl   bad

    faith, undue delay or undue, Easterling v. Am. oleun rïle Co, Inc,,75 ohio App. 3d 846, 850-

    51, 600 N.E,2d 1088 (4th Dist. 1991) ("thele is a certain stage in litigation beyond which it

    becomes increasingly diffrcult       to find an abuse of discretion in the denial of a motion                to

    arnend"); State ex   rel.   Essig v. Blctchuell, 103 Ohio St.3d 481, 2004-Ohio--5586, 817 N.E.2d 5,          jl

    16 (rrotion for leave to amend is properly denied in cases of bad faith, undue delay or. undue

    prejudice).

           Moreovet, "where a plaintiff fails to make a prima facie showing of support for new

    matters sought to be pleaded, a trial court acts within its discretion to deny a motion to amend the

    pleading." Demming.r v. Cu¡-ahoga County,            Sth   Dist, Cuyahoga No, 98958, 2013-Ohio-499,        g[ 9


    (quoting Wilmingtott Steel Prods., Inc. v. Cleveland Elec. Illum. Co., 60 Ohio St.3d I2O, 123,

    573 N.E.2d 622 (1991). Thus, "[w]here an amendment to the complaint would be futile, the trial

    court does not abuse its discretion in denying the motion." Demmings,20l3-Ohio-499,                     1[ 9,

    Plaintiff must present evidence to support the desiled claims and the claims must not                      be

    ptejudicial to the Defendant. Easterling, 75 Ohio App. 3d 846, 852. See also Hensley                        v.

    Durrcmi,l't Dist. Hamilton No. C-130005, 2013-Ohio-4':.L1,![              14 (a trial coult properly refuses

    to grant leave to amend when amendment would be futile).

           Hete, the Coult should exelcise its considerable discretion to deny Titan's motion for

    leave to anend its Cornplaint, Even        if Titan's   request rvere deemed to be tirnely - despite being

    filed sixteen months after it filed its original Complaint and six months after the alleged new

    f¿cts were discovercd   -    and even   if all of the facts alleged in the proposed   Amended Cornplaint




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     wele assurned to be true, the new clairn that Titan seeks to assefi is not supportable   as a   matter.of

     law. The proposed amendment would therefore be futile, and leave to amend should be denied.

    III.    ARGUMENT OF'LAW

            A.      Fraudulent Transfer

            The proposed new substantive claim alleged              in Titan's proposed First Amended
    Complaint is labeled, "Fraudulent TransferAy'eil Piercing." Although Titan cites no case               oÌ.

    statute to articulate this claim in its motion for leave, a claim of fraudulent transfer is governed

    by ohio's version of the uniform Flaudulent Transfer Act, R,C, $ 1336.01, et seq.

            Titan's sole allegation or theory in support of this clairn is that Vestige made two

    "il'ansfers" in January 2012 and September 2012, rcspectively, "with actual intent to hinder,

    delay or defiaud    Titan," (Propos'ed First Am.ended Complaint,\\[32-33,7I; Motionfor Leave to

    FiIe First Am.ended Complaìnt, p. 3; Deposition of Matthew Lafkas ("Lafkas Dep."), pp. 30, 33,

    202-03). Titan does not allege that Vestige made any transfer without receiving a reasonably

    equivalent value    in   exchange while insolvent or unable to meets its debts as they became due

    (R.C, $$ 133ó.04(AX2), 1336,05), Rather, Titan alleges only that the alleged "transfers" were

    made   in violation of R.C, $     1336.04(A)(1), because they were allegedly made "[w]ith actual

    intent to hinder, delay ol defraud any creditor'" of Vestige.

                   l.         The "Transfer" to Commerce Bank Occurred Nine Months                    Before
                              fitan's Alleged Claims Arose and Was Not Fraudulent.
           The fust "transfer" alleged in the proposed First Amended Complaint is the satisfaction

    by Vestige in Janualy 2012 of Commerce Bank's mortgage loan on the property. (Proposed

    First Amended Complaint,ll6; Motionfor Lea.ve to File First Amended Complainl, p. 3; Lafkas

    D"p., pp. 30, 33). Although it has not named Commerce Bank as a Defendant in the proposed




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    First Arnended Complaint, Titan apparently seeks to set the January 2012 mofigage satisfaction

    aside. This aspect of Titan's puported claim, however, fails as a matter of law.

            The Act lists eleven factols or "badges of fraud" to be considered in determining actual

    intent to hinder, delay or defraud a creditor under Section 1336.04(A)(l). Those factors are:

                      (t)   Whether the uansfer or obligation was to an insider;

                      (2)   Whethel the debtor retained possession or control of the propelty transferred
                            after the transfer';

                      (3)   Whether the tlansfer or obligation was disclosed ol concealed;

                      (4) Whether befbre the transfer     was made or the obligation was incuned, the
                            debtol had been sued or tlueatened with suit;

                     (5)    Whether the tlansfer was of substantially all of the assets of the debtor;

                     (6)    Whether the debtor absconded;

                     (7)    Whethel the debtor removed or concealed assets;

                     (8)    Whether the value of the consideration received by the debtor was reasonably
                            equivalent to the value of the asset transfened or the amount of the obligation
                            incurred;

                     (9) Whether the debtot was insolvent or became insolvent shortly after the
                            transfer was made ol the obligation was incurred;

                     (10) Whethel the transfer occurted shortly before             or shortly after a   substantial
                          debt was incurred;

                     (tl)Whether the debtor transferred the essential               assets   of the business to a
                            lienholdel who transferred the assets to an insidel' of the debtor'.

    R.C. $ 133ó.0a@); Huntùryton Na¡'1, Bank v. Winrer,1" Disr. Hamilton No. C-090482,2011-

    Ohio-1751,!ffi 10-21. At least thrce of these "badges of f'raud" should exist to support            a   finding

    of fraudulent intent. Wint.er,20l1-Ohio-1751,           1[   9.

           Titan does not even mention øny of these f'actors in its proposed First Amended

    Complaint   -   let alone allege that any of them apply in this case. Moreover, it is clear that the



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     payoff of the Comnerce Bank note and rnortgage occurrcd in Janualy 2012                 -   some nine months

     before Titan   filst   asserted   its alleged clairn against Vestige by recording its mechanic's lien in

     October   2012. There can be no possible               suggestion that Commelce Bank        is an "insider" of

     Vestige, that Titan had threatened Vestige with suit as of January 2012, that the payment to

     Commerce Bank represented substantially                all of the assets of Vestige, that Vestige     became

     insolvent by reason of the mortgage satisfaction, or that any of the other factors listed in Section

     1336.04(B) apply here.

              The proposed amendment of the Complaint to assert a claim of fi'audulent tl'ansfer with

    respect   to the Januat'y 2012 mofigage satisfaction to Commerce Bank would be a futile                      act,

    because the claim would immediately be subject                to a Rule l2(BX6) disrnissal. Accordingly, the

    proposed amendment should be denied.

                     2.        Skinner Famíly ll, LLC, MRL Capitat Holdings, LLC and Two
                               Thirds, LLC are Not rrlnsiders" and Received No Fraudulent
                               Trqnsfprc

            The second "tlansfer" alJeged in the proposed First Amended Complaint is the rerun of

    capital and disuibution of profits by Vestige to its members, ot' owners, in September 2012.

    (Proposed First Amended Complaint,\33, Motionfor Leave to Amend,p. 3, Lafkas Dep. at202-

    03), Titan seeks to join        these members   - Skinner Family II, Lrc, MRL Capital Holdings, LLC
    and Two Thirds, LLC         -    as additional def'endants, and to hold them liable as recipients       of   the

    alleged "fraudulent transfers," (Proposed First Amended Complaint, SIi3).

            The only "badge of fraud" alleged by TÌtan in support of its claim against the rnembers               of
    Vestige is that they are "insiders of Lafkas and Vestige, as contemplated by the Ohio fi,audulent

    conveyance statute," (Proposed Amended Complaint, jl9[ 36,                   73). However, none of these
    ploposed additional defendants can be an "insider" within the statutory definition of that term,

    An "insidet," for purposes of the Act, is a party with a qualifying lelationship with the debtor,             if

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    the debtoris: (1) anindividual:(2) acorporation; or'(3) apartnership. R.C.$ 1336.01(GXI),(2),

    (3). An "insider" can also be an "affiliate" of the debtor (as defined in Section 1336.01(A)), or a

    mana-eing agent of the debtor, R.C. $ 1336.01(GX4), (5)),

            Vestige   is a limited liability    company, formed pulsuant            to R,C. Chapter.      1705.

    (Compla.int,ll 3). It is not an individual, a coqporation, ot   a   partnership. Further, neither Skinner.

    Family II, LLC, MRL Capital Holdings, LLC nor Two Thirds, LLC are "affiliates" of Vestige,                as

    defined by the Act, ot' rnanaging agents of Vestige. Thelefore, none of the definitions of

    "inside-r" provided   in the Act apply to any of      these entities,   It is a cardinal rule of   statutory

    construction that the court must look to the language of the statute itself to detemine legislative

    intent. State v. Jordan, 89 Ohio St,3d 488, 491,733 N.E,2d 601 (2000), If the meaning of rhe

    statute is unambiguous and definite,    it must be applied as written without interpretatio n.3 kJ. aI
    492.

           Here, no interpretation of R,C.     $ 1336.01(G) is required. Limited liabitity        companies

   have existed in Ohio since July 1., 1994, S¿e R.C. $ 1705,01 (effective date), The legislature has

   not amended Section 1336,01 (itself effective since September 28, 1990) to expand the definition

   of "insider"' to include members of a limited liability company for            purposes   of the Unifonn
   Fraudulent Transfels    Act. Titan's   alleged claims against Skinner Family       II, LLC, MRL Capital
   Holdings, LLC and Two Thirds , LLC, based solely upon its allegation that they are "insiders" of




   3 Even if Titan attempted to
                                   analogize Vestige to a corporation or to a pafinership, its members
   ale most akin to shareholders of a corporation ol limited paftners in a partnership
                                                                                           - neither of
   which would qualify as an 'tnsider" under Section 1336,01(G). Se¿ R.C, $ 1705.01(G) (defining
   a "membet'' as al1 owner of a lirnited liability company; R,C. $ L782.19 (gener.al paftners, but noi
   limited partners, palticipate in control of a partnership's business), As Titan itsélf alleges, these
   other entities were not controlling Vestige or acting as a general partner, See Proposerl First
   Amended Compluint, qU[ 34-35, 7 5-7 6.


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     Vesti-{e, would irnmediately be subject       to dismissal undel Rule l2(BXó). Acco¡din-ely,      the

    ptoposed amendrnent and joinder of these entities as defendants should be denied,

             B.        Veil Piercinq

             Finally, ernbedded within Count IV of the Proposed Filst Amended Complaint is a claim

    that Mr'. Lafkas should be held individually liable for the alleged fraudulent conveyances because

    he allegedly exelcised complete control over Vestige in such a way as to harm       Titan. (Proposecl

    Am.ended   Complaint,ll[T5-77). As alleged in the Ploposed Amended Cornplainr (![![3, 5, 7) a¡d

    as Mr', Lafkas testified (Lafkas D"p,,       pp, l2-I3), Ml. Lafkas is not personally a member of

    Vestige; rather, he is a member of MRL Capital Holdings, LLC, which entity itself is a rnember

    and 257o owner of      Vestige, Therefole, in order to irnpose individual liability upon Mr', Lafkas,

    the Court would actually have to "pieÍce" two veils; i,e., pierce vestige's veil to get to MRL

    Capital, and then pierce MRL Capital's veil to get to Mr. Lafkas, This scenario is not even

    arguably supportable by the facts.

            As a matter of statute, the "debts, obligations, and liabilities of a timited liability
    conpany, whether arising in contract, tort, or otherwise, are solely the debts, obligations, and

    liabilities of the limited liability company," R,C. $ 1?05.48(A). Further, "[n]either the members

    of the limited liability company nor any managers of the limited liability         company        are

    personally liable to satisfy   in any   .   . mannel, a debt, obligation, or liability of the company

    solely by reason of being a member or manager of the limited liability compâny." Id.,               g


    1705.48(B), See also Art's Rental Equipntent, Inc. v. Bear Creek Const., LLC,Hamilton C,P.

    No. 40902785, 2012 Ohio Misc. LEXIS 21, x' 4 (Feb, 23,2012) (quoting Tenable Protectiv¿

    Servs., htc.,   v. ltit þ]-'I'echnologies, IJ,c (Qhio Ct, App, 8h Dist,¡, Case No. 89958, 2008-ohio-

    4233 atlÍ I5),




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               To prevail on its claim against Mr, Lafkas, Titan would have to prove that:             (l)   MRL
     Capital had complete contlol over Vestige, such that Vestige had no separ.ate rnind, will                or.

     existence; (2) Mr'. Lafkas had complete control over MRL Capital, such that MRL Capitat had no

     separate mind,      will or existence; (3) MRL Capital    and   Ml, Lafkas both exercised   such control to

     commit fraud or other specific eglegious acts of extrcme shareholder mi.sconduct against Titan

     and (4) Titan was injured by such control and wrong. Dom.broskiv. Wellpoint, hrc.,l19 Ohio

     st,3d 506, 2008-ohio-4827,895 N.E.2d 538, 1[9J 26-29, Hutt.enbauer land co., LLC v. Horley

     Riley, Lrd.,1't Dist. No. C-110842,20I2-Ohio-4.5g5,        fï       16-17.

              To establish the first element of "control" over the entity, coults consider.factors such as

     gt'ossly inadequate capitalization, failure to observe corporate formalities, insolvency at the tirne

     that the debt was incurred, shaleholders holding themselves out as personally liable fol,corporate

     obligations, divel'sion of funds or property for personal use, absence of corpor.ate recolds, and

     using the entity as a façade for the operations of the shareholder. Art's Rental Equipment, Inc. v.

    Benr Creek Cons'L, LLC,Hamilton C,P. No. 40902785,2012 ohio Misc, LEXIS 21, * 4 (Feb,

    23,2012) (quoting LeRoux's'BiIlyIe supperCtubv, Ma (ohio Ct. App.6üDist 1991), 77 ohio

    App,3d 417,422-23, 602 N.E,2d 685),

              Titan does not even allege that dnJ of these factors exist here with respect to Vestige or

    MRL Capital. Moreover, as discussed at length above, there are no facts that would suppofi                a

    finding that   a   fraud was committed as to Titan merely because Vestige paid off its mortgage debt

    and retumed capital and plofits to its membels without any inkling of Titan's subsequent alleged

    claims' The merc allegation that Mr. Lafkas supposedly exe¡cised cornplete control over Vestige

    would not withstand a motion to dismiss an alter ego cla)m against MRL Capital, Iet alone one

    against   Mr' Lafkas individually. Moreover, there i.s not even a hint of a suggestion that Vestige




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     is insolvent or otherwise unable to satisfy    a   judgment that would theoretically be entered in favol.

     of Titan on its substantive claims. "Veil piercing" simply is neither r.equired nor or appropriate

     herc.

             For these l€asons, Titan's motion to amend the Complaint to add Mr. Lafkas as                      a

     defendant and assert a "veil piercing" claim against him should be denied.

     IV.     CONCLUSION

             It is clear that Titan   has filed its rnotion for leave to omend as a smokescleen for the

     planned fenewal of its request for the Cohen Brothers documents
                                                                                -   a r.equest that the Court has

     ah'eady denied   once. The motion was filed in bad faith, and the proposed new claims have no

     factual of legal support whatsoever. Titan's Motion for Leave to File Its First Amended

     Complaint should be denied in all respects,

                                                               Respectfully submitted,


                                                                /sl S¡even C- Coffnra
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                                                               Vestige Redevelopment Group LLC




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                                        CERTIF'ICATE OF SERVICE

                I certify that a copy of the foregoing    document was served via ernail and regular U,S

     Mail this lgth day of June, 2015 to:

                Ian H, Frank
                Melissa A. Jones
                FRANTZ WARD LLP
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                230 East Ninth Street, Suite 4000
                Cincinnati, Qhio 45202


                                                               /s/   ,St¿ven. C.
                                                               Steven C. Coffaro

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Donatella LukezBeatrice

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Case Number: A 1400996
Case Caption: Titan Wrecking And Enviromental Llc vs. Vestige Redevelopment Group Llc Document
                                                                                               Filed:
MEMORANDUM IN OPPOS]TION TO PI.AINTIFFS MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
                                                                                                      INSTANTER

Date Filed: June 19, 2015
Filed By: Steven C Coffaro (Attorney for Defendant Vestige Redevelopment Group gc)

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